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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                             NORTHERN DIVISION
                                 AT ASHLAND

CRIMINAL ACTION NO. 10-7-DLB-EBA-9

UNITED STATES OF AMERICA                                                       PLAINTIFF


VS.                                      ORDER


CHARLES NELSON MONROE ISON                                                   DEFENDANT

                              ********************************

      This matter is before the Court upon the Report and Recommendation ("R&R") of

the United States Magistrate Judge wherein he recommends that the Court revoke

Defendant's supervised release and impose a sentence of twelve (12) months

incarceration, with Defendant then continuing any unexpired term of supervised release.

(Doc. # 231). During the final revocation hearing conducted by Magistrate Judge Atkins

on June 20, 2013, Defendant stipulated to violating several conditions of his supervised

release as set forth in the March 27, 2013 Supervised Release Violation Report and June

11, 2013 addendum. (Doc. # 229). Specifically, he admitted violating the following

conditions:

      The defendant shall not commit another federal, state or local crime;

      The defendant shall report to the probation officer and shall submit a truthful
      and complete written report within the first five days of each month;

      The defendant shall not associate with any persons engaged in criminal
      activity and shall not associate with any person convicted of a felony, unless
      granted permission to do so by the probation officer;



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       The defendant shall participate in a substance abuse treatment program and
       shall submit to periodic drug and alcohol testing at the direction and
       discretion of the probation officer during the term of supervision;

       Although the total amount of restitution in this matter is greater, the defendant
       shall pay restitution in the amount of $2,430.98, which shall be due
       immediately. This amount shall be joint and several with his co-defendants.
       The defendant shall pay $25 quarterly installment payments while
       incarcerated, unless employed through the Bureau of Prisons UNICOR
       Industries, then she shall pay $60 per quarter. Any unpaid remaining
       balance she become a condition of his supervision and a payment schedule
       will be set by subsequent order.

(Doc. # 231, at 2-3); (Doc. # 159, at 3-4).

       Defendant having executed a waiver of his right to allocution (Doc. # 230), there

being no objections filed to the Magistrate Judge's R&R, and the time to do so having now

expired, the R&R is ripe for the Court's consideration. Having reviewed the R&R, and the

Court concluding that the R&R is sound in all respects, including the recommended

sentence and the basis for said recommendation, and the Court being otherwise sufficiently

advised,

       IT IS ORDERED as follows:

       (1)    The Magistrate Judge's Report and Recommendation (Doc. # 231) is

              ADOPTED as the findings of fact and conclusions of law of the Court;

       (2)    Defendant is found to have VIOLATED the terms of his supervised release;

       (3)    Defendant’s supervised release is hereby REVOKED;

       (4)    Defendant is sentenced to the CUSTODY of the Attorney General for a

              period of TWELVE (12) MONTHS, and will then continue on any unexpired

              term of supervised release;

       (5)    That the above sentence, to the extent possible, be served at FCI Ashland;

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       (6)     Defendant shall continue on the conditions previously imposed; and

       (7)     A Judgment shall be entered contemporaneously herewith.

       This 9th day of July, 2013.




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